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                   EXHIBIT F
              Defendants' Deposition
                   Designations
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                                  IN THE UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                          Case No.: 17-cv-60426-UU

     ALEKSEJ GUBAREV, XBT HOLDING S.A.,
     AND WEBZILLA, INC.

           Plaintiffs,

     vs.

     BUZZFEED, INC. AND BEN SMITH,

       Defendants.
     ____________________________________/


                                DEFENDANTS’ DEPOSITION DESIGNATIONS


                                                                Plaintiffs'
                                                                  Cross-
                                                               Designation    Defendants'
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CHRISTOPHER
                                   15:3-4
STEELE                                           N
                                15:21-23         N
                               18:11 – 20:4      N
                               21:14 – 22:4      N
                               23:22 – 24:6      N
                                 31:3-24
                                                                31:25 –
                               32:22 – 33:22
                                                 C             32:19          R. Arg.
                               35:17 – 36:14     N
                                37:8 – 38:15     R, H

     1 A – Authenticity (unexclusively including best evidence rule), Arg – Argumentative, Best Ev –

     Best evidence, C – Completeness, Daubert – Subject to Daubert challenge, Doc Speaks –
     Documents speaks for itself, F – Foundation, H – Hearsay, I – inadmissible matter
     (unexclusively including Daubert challenge), L – foreign language, Leg. – Calls for legal
     conclusion, N – No objection, M – Misstates testimony, P – Privileged, R – Relevance, S –
     Speculation, T – To form (unexclusively including, for instance, speculation, argumentative,
     misstates testimony, calls for legal conclusion), UP – Unfairly Prejudicial,


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                                                             Designation    Defendants'
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                              39:13-23         R
                            40:3 – 42:21       R (40:3-6)
                            45:22 – 48:4       N
                                49:5-7         N
                            49:12 – 52:8       N
                              53:17:00         N
                            54:5 – 55:15       N
                               58:9-11         N
                              66:17-21         N
                           66:23 – 67:12       C (67:7-12)
                            73:10 – 76:8       R, C, UP      76:9-12        N
                              76:13-15        C              76:16-24       N
                            76:25 – 77:8       N
                             83:9 – 88:6      S
                            90:25 – 91:4      F, R
                           91:17 – 92:11       N
                               93:9-12         N
                           98:12 – 99:15       N
                           101:5 – 103:5       N
                              105:3-17        S, H, R, UP
                              117:2-10        N
                             118:19-22         N
                         120:22 – 122:16      R, UP
                                              C (124:21-
                             12:24 – 125:5
                                              125:5), F
                               126:9-15        N
                                128:2-7        N             127:20-25      N
                             133:13-135:3     C, S, H, R     133:12         N
                              135:05:00       S, H, R
                               136:8-10       F, M           138:18-25      N
                              136:12-15       F, M           138:18-25      N
                            137:24 – 138:3    F, M           138:18-25      N
                                 138;5        F, M           138:18-25      N
                            138:18 – 139:5     N
                               Exhibit 4       N


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                                                             Designation    Defendants'
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KONSTYANTYN                       5:1-15
BEZRUCHENKO                                    N
                               6:24 – 7:3      N
                               7:20 – 8:3      N
                              10:14 – 14:8     N
                                16:6-20        R
                                               R, UP, S,
                               17:8 – 28:2
                                               T, H, M
                              29:12 – 32:25    R, C           33:1          N
                                                             33:2,
                                  33:3-12
                                               C             33:13-16       N
                                                             34:23-
                              35:1 – 36:25                   34:25 37:1-
                                               C, R, M, T    2              N
                                   37:3-6      R, T          37:7-16        N
                                 37:17-24      R, T          37:7-16        N
                               38:1 – 39:20    T, S, Arg
                                   40:1-6      R, M, T
                                  43:4-13      T, C
                                 43:23-24      C             43:14-22       R (43:18-24)
                                   44:1-4      N
                                 44:19-22      R
                              46:13 – 50:10    T, R
                                 51:17-18      R
                                  52:1-23      T
                                 53:01:00      N
                                  54:1-25      Arg, T, C
                              55:14 – 57:15    T
                                58:1 – 59:3    R
                                 62:14-19      R             62:20-21       N
                               62:22 – 64:9    T, M, S
                                               R, Arg, T,
                              65:16 – 66:25
                                               S, C
                                                R, Arg, T,
                                 67:02:00
                                               S, C
                                67:14-23       R, T
                               68:1 – 71:2     R, T          71:3-15        N

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                                                             73:22-
                             75:18 – 77:8                   75:17, 77:9-
                                              R, C, M       14           N
                                              R, T, Arg,
                             77:15 – 78:16
                                              S
                                              R, T, Arg,
                                78:18-19
                                              S
                               79:21-24       R, C, T       79:6-20      R
                              80:4 – 82:6     R, T
                             82:17 – 83:13    R, S
                             84:16 – 85:19    R
                             85:24 – 86:11    R, UP
                               85:15-22       R
                             86:15 – 87:10    Arg, R, M
                                              R, Best Ev,
                             87:12 – 90:10
                                              S, UP, Arg
                                              R, S, UP,
                                90:13-18
                                              Arg, C
                             90:23 – 91:25    R, T
                                                            97:9-16,
                                97:17-22
                                              R, T          97:23-2      N
                                98:19-22      R
                                100:1-21      C, R, UP
                                              M, R, UP,
                            100:25 – 101:2
                                              S
                                              M, R, UP,
                                101:6-16
                                              S
                                 102:5-8      UP, R
                                 106:3-9      R, Arg, S
                                              R, Arg, S,
                               106:12-16
                                              T
                                              R, Arg, S,
                               106:18-19
                                              T
                                               R, Arg, S,
                               106:21-23
                                              T
                                              R, Arg, S,
                                107:1-18
                                              T
                               107:22-23       R, Arg, S,

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                                              T
                                                R, Arg, S,
                             107:25-108:2
                                              T
                               111:1-5        R, T
                           111:14 – 112:25    R, M, T
                              114:1-18        R, C, M, S    114:20        N
                                              R, Arg, S,
                           114:21 – 116:18
                                              T, H
                                               R, Arg, S,
                           115:22 – 116:18
                                              T, H
                                              S, R, H,
                             117:5 – 118:8
                                              Arg
                                               S, R, H,
                               118:10-15
                                              Arg
                               118:17-22      R, Arg
                               118:25:00      R, Arg
                                              R, S, H,
                             119:2 – 120:1    Best Ev, T,
                                              Arg
                                              R, S, H,
                               120:03:00      Best Ev, T,
                                              Arg
                            120:20 – 122:8    R, S, T
                           137:21 – 139:11    R, T
                              139:14-20       R, T
                           139:22 – 140:16    M, R, C      140:18         N
                           140:20 – 142:10    M, R
                           142:17 – 143:25    R, S, T
                               144:3-10       R, T
                                              R, H, R,
                           144:12 – 148:25
                                              Best Ev, C   149:1-3        N
                            149:18 – 150:2    S, R, Arg
                             150:9- 151:7     R, C
                                              Arg, S, M,
                           151:13 – 152:15
                                              R
                                              Arg, S, M,    152:16-17,
                               152:18:00
                                              R            152:20         R (152:16-17)
                               152:21-25       Arg, S, M,

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                                              R
                               153:2-10       Arg, R, M
                              153:13-14       Arg, R, M
                              153:16:00       Arg, R, M
                              153:21-22       Arg, R, M
                            153:24 – 154:3    Arg, R, M
                               154:8-12       Arg, R, M
                                              R, Best Ev,
                            154:17 – 155:2
                                              M, Arg
                                              R, Best Ev,
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                                              Arg
                                              R, Arg,
                           255:15 – 156:16
                                              Best Ev, T
                            156:21 - 157:5    R, Arg, T
                                              R, Arg, T,
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                                              S
                                              R, Arg, T,
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                                              S
                             166:1-168:25     C, M, S, T     165:24-25      R
                               169:2-13       T              169:14         N
                              169:16-18       T
                           169:21 – 170:19    T, Arg
                            170:21 – 176:7    R, S, T
                            176:9 – 179:25    R, T           180:1          N
                            181:1 – 183:23    T, S
                           183:25 – 184:19    T, R
                            184:21 – 186:7    R, T
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                                              F, Leg.,
                                              R, T, UP,
                           190:20 – 196:23
                                              F, Leg., M
                           196:25 – 199:11    R, M, S
                              199:23-25       R, T, C        200:1          N
                               200:3-4        R, C
                           200:14 – 201:10    R, M           201:12         N
                           201:18 – 206:13    R, C           201:14-18      N
                            202:18 – 206:6    R, S, T

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                                              R, S, M, T,
                              206: - 213:6    Arg, UP, H,
                                              Best Ev, F
                                              R, M, Arg,
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                                              Arg, R, M,
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                                               Arg, R, M,
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                                              Arg, R, M,
                           213:20 – 215:23    UP, H, Best
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                                              R, UP, S,
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                                              R, UP, S,
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                                              M, F          221:19-21     N
                                              R, UP, S, F,
                            221:23 – 222:4
                                              M
                                              R, UP, M,
                            222:6 – 224:13
                                              F, S
                               224:15:00      R, UP, F
                                              R, UP, Arg,
                            224:21 – 225:5
                                              T
                                225:8-17      R, UP, S
                               225:20-22      R, UP, S
                               225:24-25      R, UP, S
                                 227:6-8      R, UP
                                              R, UP, F, S,
                            227:21 – 229:8
                                              T, Arg, C    229:11-12      N
                                              R, C, UP, F,
                           22(;22 – 230:16
                                              M
                           230:24 – 231:13    S, F, R, UP
                                                            2321:22-
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                               231:15-20                   232:5-19,
                                              S, F, R, UP, 234:7-         R (234:7-
                                              C            235:17         235:17)

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                                                             Plaintiffs'
                                                               Cross-
                                                            Designation    Defendants'
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                            236:16-20          R, UP, F
                                               R, UP, F,
                            236:22 – 237:7
                                               T, Arg
                                                R, UP, F,
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                                               Arg
                                               R, UP, F,
                       237:23 – 239:19239:25   Arg, M,
                                               Best Ev
                             240:2 – 244:5     R, UP, F
                                               R, UP, F,
                                244:7-12
                                               T, Arg, M
                                               R, UP, F,
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                                               T, Arg, M
                                               R, UP, F,
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                                               T, Arg, H
                                               R, UP, F, T,
                               247:23-24
                                               Arg, H
                                               R, UP, F,
                             248:1 – 249:6
                                               Arg, H
                                               R, UP, F,
                               249: 9-10
                                               Arg, H
                                               R, UP, F,
                           249:14 – 251:14     Arg, H, Best
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                                               R, UP, F,
                               251:16-22       Arg, H, Best
                                               Ev, T, S
                                               R, UP, F,
                            251:25 – 252:8     Arg, H, Best
                                               Ev, T, S
                               252:10-17       F, S
                                               Arg, R, T,
                                               H, UP, F,
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                                               Best Ev
                               256:16-23       C, T, S
                                               C, R, UP, F,
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                                               R, UP, S, F,
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                                               Arg,
                                               R, UP, Arg,
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                                               T, F
                                               R, UP, Arg,
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                                               T, S, M, F
                                               R, UP, Arg,
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                                               S, Arg        273:18        N
                                               R, UP, M,
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                                               C, F, Arg
                                               R, F, UP,
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                                               H, S, M
                                                R, F, UP,
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                                               R, F, UP,
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                                               C
                                               R, F, UP,
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                                               R, F, UP,
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                                               C
                                               R, F, UP,
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                                               R, F, UP,
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                                               M, T
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                                               M, T

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                                                R, F, UP,
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                                               M, T
                                                R, F, UP,
                             289:18 – 290:1
                                               M, T
                                                R, F, UP,
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                                               M, T
                                               R, F, M,
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                                               UP, H
                                               R, F, M,
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                                               UP, H
                                                R, F, M,
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                                               UP, H
                                                R, F, M,
                              293:1 – 296:9
                                               UP, H, S      292:25        N
                             296:12 – 298:3    N
                                298:05:00      N
                              298:9 – 299:1    N            299:2-14       N
                            299:20 – 301:14    R, UP, F
                                302:3-14       M
                                               Arg, R, UP,
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                                               F, H          308:9-11      N
                               308:12-16       R, UP, F
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                             308:22 – 309:8    R, UP, F, C 309:9           N
                               309:10-16       R, UP, F     309:17-18      N
                                310:4-15       R, UP, F, S
                                               R, UP, F, S,
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                                               H
                               317:18:00       R
                             317:20 – 318:5    R
                               318:9-10        R
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                             Exhibit 6         N
                             Exhibit 10        N
                             Exhibit 11        N
                             Exhibit 12        N
                             Exhibit 13        R, UP, H
                             Exhibit 14        R, UP, F
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                             Exhibit 18        R, UP, F, H
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                                  10:4-11
GOEDERICH                                      N
                                 11:13-15      N              11:12          N
                                12:7 – 13:5    N
                                14:6 – 15:4    C
                                 16:14-20      N
                                  17:9-10      T
                              17:13 – 18:10    T
                                 18:17-22      T
                                  19:2-18      N
                               21:2 – 22:11    N
                                 22:16-19      N
                              22:22 – 23:18    T
                              23:21 – 26:24    T
                                27:6 – 31:3    N
                                                               40:25-
                              31:7 – 33:19
                                               N              41:24          N
                               34:6 – 35:5     R
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                                39:10-23       N

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                               40:20-24        R
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                             42:11 – 43:5      S
                                43:9-12        S
                              48:2 – 49:9      N
                            49:18 – 50:24      N
                                52:1-12        R
                            52:17 – 53:14      R
                                54:6-12        N
                             54:18 – 55:6      N
                            55:14 – 56:13      N
                            56:18 – 57:15      N
                                58:3-15        N
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                                 61:4-8        N
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                              68:1 – 69:10     R
                              71:11 – 73:3     R
                               73:8 – 74:3     S
                               74:5 – 75:9     R
                                 76:5-8        N
                             78:22 – 79”14     R
                                 80:1-4        R
                               80:8 – 81:4     R, UP
                                81:6-14        R
                              81;18 – 82:4     N
                              82:11 – 83:8     R
                              83:18 – 86:9     R, F, UP
                             86:13 – 87:21     R, UP
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                                  92:7-21      N
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                            152:22-154:9       N            154:10-18      N
                              156:15-21        N
                             158:2-159:8       N
                           159:18-160:14       N
                             161:1-163:9       N
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                             165:15-169:15     N
                             171:12-172:11     M, T
                               177:7-13        F
                               178:4-25        T
                             182:19-183:17     N
                                                            184:25-
                                 185:8-10
                                               N            185:7          N
                                                            193:15-
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                                               N            194:2          N
                              194:3-196:17     N
                                198:7-10       N
                              199:3-200:16     N
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                             Exhibit 12        N
                             Exhibit 13        N
                             Exhibit 14        N
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                             66:25-68:8         R
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                                               testimony
                                 91:2-6         T, R
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                                                No
                                 96:24-25
                                               testimony
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                              299:22-300:4      N
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                                 Exhibit 9      N
                                 Exhibit 10     N
                                 Exhibit 11     N
XBT 30(B)(6) (6-
                                  6:11-113
    28-18)                                      N
                                                F, S, Best
                                   7:3-21
                                                Ev, H
                                                F, S, Best
                                 7:24 – 8:3     Ev, H, R,
                                                UP
                                                F, S, Best
                                   8:11-14      Ev, H, R,
                                                UP
                                                F, S, Best
                               8:16 – 12:24     Ev, H,
                                                Argu, R, UP
                                                               15:23-
                               13:21 – 15:22
                                                R, UP, F      16:11       N
                                 17:11-17       R, UP, F      17:18-24    N
                               17:24 – 20:23    R, UP, F
                                  22:5-12       R, UP, F
                               22:21 – 28:22    R, UP, F
                                30:19 – 34:1    R, UP, F, S
                                  34:7-14       R, S, C     34:15-19      N
                                 34:20-25       R, S, C     35:1          N
                                  35:5-10       R, S        35:11-13      R
                                 35:16-19       R, UP, F
                                  37:1-17       R, UP, S, F
                                 37:21-24       R, UP, S, F 37:18-20      N
                                  38:1-24       R, UP, S, F 38:25-39:9    R
                                39:17 – 40:6    Arg, R, UP,
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                              40:17 – 41:4     R, UP, S, F 41:5-6          R
                                41:7-13        R, UP, S, F 41:14-42:2      R
                              42:1 – 45:15     R, UP, S, F
                                               R, UP, S, F,
                              46:1 – 50:25
                                               M
                                               R, UP, S, F,
                              53:13 – 55:16
                                               Arg, M
                                               R, UP, S, F,
                              55:19 – 56:12
                                               Arg, M
                                               R, UP, S, F,
                              56:16 – 57:4
                                               Arg
                                               R, UP, F,
                               57:6 – 60:9
                                               Arg           60:10-62:8    N
                              62:16 – 68:19    R, UP, F, S
                              69:14 – 71:22    R
                               72:5 – 73:12    R             73:16-18      N
                               73:19 – 74:1    R
                                74:9 – 75:7    R
                                 75:11-18      R
                              76:12 – 77:11    R
                                 77:17-23      R
                                  78:1-18      R
                              78:23 – 79:25    R
                                  80:4-15      R
                               82:13 – 84:4    R
                              84:24 – 86:21    R, M, S       86:22-87:3    N
                                  87:4-22      R, S, M       87:23-88:1    N
                                  88:2-23      R
                              88:25 – 89:22    R
                                               R, S, Leg.,
                                 96:11-25
                                               M, F
                                98:12-20       R, Leg.
                              99:7 – 100:13    R, UP, H, S 102:1-3         N
                                102:4-16       R, UP, H, S 102:17-19       N
                                103:01:00      R, C
                                104:1-12       R            104:14-17      C, UP

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                                               R, Best Ev,
                                105:22-23
                                               H
                                106:4-13       R
                                 108:5-7       R
                              108:9 – 109:1    R
                               109:17-25       R, UP         109:10-16     C, UP
                                               R, Best Ev,
                                 110:5-12
                                               H
                                               C, S, Best
                                 111:1-13
                                               Ev, H
                                               R, C, UP,
                             113:19 – 112:7    M, H, Best
                                               Ev
                                               R, C, UP,
                                112:10-14      M, H, Best
                                               Ev            112:8-9       N
                                               R, C, UP,
                             112:22 – 113:1    M, H, Best    112:15-
                                               Ev           113:5          N
                                               R, C, UP,
                                 113:9-14      M, H, Best
                                               Ev
                                               R, C, UP,
                             113:20 – 116:9    M, H, Best
                                               Ev           113:15-18      N
                                117:2-7        R
                              129:5-132:24     R             133:4-7       N
                                                            135:19-
                              134:7-135:18
                                               R            136:3
                                138:11-22      R
                                 139:7-24      R, UP
                                140:10-17      R, UP, S, H
                                 141:1-10      R, UP, S, H
                                 142:4-19      R, UP, S, H
                                               R, UP, S,
                              143:17-146:6
                                               H, F, M, C
                                                             150:13-
                             147:11-150:12     R, UP, Arg, 151:12
                                               S, H         Exhibit 11     N
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                                                               153:17-
                               151:13-153:16
                                                 R, UP         154:1        R
                                  Exhibit 2      R
                                  Exhibit 3      R
                                  Exhibit 5      R, UP
                                  Exhibit 6      R, UP
                                  Exhibit 7      R, UP
                                  Exhibit 8      R, UP
                                  Exhibit 9      R, UP
                                  Exhibit 10     R, UP
Constantin                                       R, UP. H,
                                  4:5-84:25
Luchian                                          F, S, T,
                                    AG 13        R, UP, H, F
                                    AMA 1        R, UP, H, F
                                     CF 1        R, UP, H, F
                                     CF 2        R, UP, H, F
                                     CF 3        R, UP, H, F
                                     CF 4        R, UP, H, F
                                                  R, UP, H,
                                     DP 1
                                                 F
                                     HT 1        R, UP, H, F
                                     HY 1        R, UP, H, F
                                                  R, UP, H,
                                         IP 1
                                                 F
                                    WCZ 1        R, UP, H, F
DAVID
                                  12:1-58:7
KRAMER                                           R
                                                 R, UP, F, S, 127:19-
                                75:17-127:13
                                                 T, H         128:1         C, UP
                                  Exhibit 1      R, UP
                                  Exhibit 2      N
                                  Exhibit 3      N
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                                  Exhibit 5      N
                                  Exhibit 6      N
JEFFREY
                                  Exhibit 1
ANDERSON                                         R, UP

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DAVID
                                Exhibit 1
KAPLAN2                                                   R, H
                               Exhibit 2                  R, H
                               Exhibit 3                  H
                               Exhibit 4                  H
                               Exhibit 5                  H
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                               Exhibit 7                  H
                               Exhibit 8                  H
                               Exhibit 9                  H
                               Exhibit 10                 H
                               Exhibit 11                 H, R, UP
                               Exhibit 12                 H, R, UP
                               Exhibit 13                 H, R, UP
                               Exhibit 14                 H, R, UP
                               Exhibit 15                 H, R, UP
                               Exhibit 16                 H, R, UP
                               Exhibit 17                 H
                               Exhibit 18                 H
                            P-P001536-1539                UP, R
ANTHONY                                                   R, UP, H,          Cole
                                Exhibit 1
FERRANTE3                                                 Daubert            Report
                                                          R, UP, H,          Cole
                                 Exhibit 2
                                                          Daubert            Report
                                                          R, UP, H,          Cole
                                 Exhibit 3
                                                          Daubert            Report
                                                          R, UP, H,          Cole
                                 Exhibit 4
                                                          Daubert            Report
                                                          R, UP, H,          Cole
                                 Exhibit 5
                                                          Daubert            Report
                                                          R, UP, H,          Cole
                                 Exhibit 6
                                                          Daubert            Report
                                 Exhibit 7                R, UP, H,          Cole

    2 Kaplan did not have a deposition, so Plaintiffs assume that these exhibits refer to the exhibits to his expert report.
    3 It is apparent that these Exhibits refer to Ferrante’s exhibits to his report, and not to the exhibits to his deposition.

    Plaintiffs have accordingly responded on this assumption.
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                                               Daubert        Report
                                 Exhibit 9     R, UP, H,      Cole
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 10
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 11
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 12
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 13
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 14
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 15
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 16
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 17
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                                               Daubert        Report
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                                Exhibit 19
                                               Daubert        Report
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                                               Daubert        Report
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                                Exhibit 21
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 22
                                               Daubert        Report
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                                Exhibit 23
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 24
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 25
                                               Daubert        Report
                                               R, UP, H,      Cole
                                Exhibit 26
                                               Daubert        Report

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                                                R, UP, H,      Cole
                                 Exhibit 27
                                                Daubert        Report
                                                R, UP, H,      Cole
                                 Exhibit 28
                                                Daubert        Report
ERIC COLE                        Exhibit 1      N
                                 Exhibit 3      R, H
ALEXSEJ
GUBAREV
                                   AG-4A
04/13/18 &
06/16/18                                        R
                                 AG-4B          R
                                 AG-4D          UP, R
                                  AG-6          UP, R, H
                                  AG-8          UP, R, H
                                 AG-10          N
                                AG DX-2         L
                                AG-DX-3         N
                                AG-DX-4         R
                                AG-DX-5         L, R
                                AG-DX-6         R
                                AG-DX-7         R
                                AG-DX-8         R
                                AG-DX-9         N
                                AG-DX-10        R
                                AG-DX-11        R
                                AG-DX-12        N
                                 AM-1           UP, R, A
                                 AW-1           UP, R, A, H
                                 AW-2           UP, R, A, H
                                 AW-3           UP, R, A, H
                                 AW-5           UP, R, A, H
                                 AW-7           UP, R, A
                                 AW-8           UP, R, A
                                 AW-11          UP, R, A
                                                UP, R, A,
                                   AW-15
                                                H
                                  AWM-1         UP, R, A,
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                                               H
                                   BC-1        R
                                               UP, R, A,
                                   EH-3
                                               H
                                               UP, R, A,
                                  EH-3A
                                               H
                                               UP, R, A,
                                   HA-1
                                               H, F
                                               UP, R, A,
                                   HA-4
                                               H, F
                                  INT-1        N
                                  INT-2        UP, R
                                  INT-7        UP, R
                                  MB-1         UP, R
                                  MB-4         UP, R
                                  MB-5         UP, R
                                  MB-8         UP, R
                                  MB-9         UP, R
                                  MB-11        UP, R
                                  MB-19        UP, R
                                               UP, R, A,
                                   MC-1
                                               H
                                               UP, R, A,
                                   MC-2
                                               H
                                   N-1         UP, R, F, A
                                   N-2         UP, R, F, A
                                   N-3         UP, R, F, A
                                   N-5         UP, R, F, A
                                   N-6         UP, R, F, A
                                   N-7         UP, R, F, A
                                   N-10        UP, R, F, A
                                   N-11        UP, R, F, A
                                   N-14        UP, R, F, A
                                   N-15        UP, R, F, A
                                   PR-1        R
                                   PR-2        R
                                   PR-4        R

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                               PR-7            N
                               PR-9            R
                              PR-38            R
                              PR-39            R
                              PR-83            R
                                               R, H, A,
                                   PV-2
                                               UP
                                               R, H, A,
                                   PV-3
                                               UP
                                               R, H, A,
                                   PV-4
                                               UP
                                               R, H, A,
                                   PV-5
                                               UP
                                               R, H, A,
                                   PV-6
                                               UP
                                               R, H, A,
                                   PV-7
                                               UP
                                               R, H, A,
                                   PV-8
                                               UP
                                               R, H, A,
                                   PV-9
                                               UP
                                               R, H, A,
                                  PV-12
                                               UP
                                               R, H, A,
                                  PV-15
                                               UP
                                               R, H, A,
                                  PX-33
                                               UP
                                               R, H, A,
                                  PX-34
                                               UP
                                               R, H, A,
                                  PX-37
                                               UP
                                               R, H, A,
                                  PX-39
                                               UP
                                               R, H, A,
                                  PX-43
                                               UP
                                               R, H, A,
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                                               UP

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                                                R, H, A,
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                                                UP
                                                R, H, A,
                                   PX-53
                                                UP
                                                R, H, A,
                                   PX-81
                                                UP
                                                R, H, A,
                                   PX-107
                                                UP
                                                R, H, A,
                                   PX-108
                                                UP
                                                R, H, A,
                                   PX-109
                                                UP
                                                R, H, A,
                                   PX-112
                                                UP
                                                R, H, A,
                                   PX 116
                                                UP
                                                R, H, A,
                                  PX–117
                                                UP
                           Benjamin.Smith
Ben Smith              PLAINTIFF.EXHIBIT1       H
                           Benjamin.Smith
Ben Smith              PLAINTIFF.EXHIBIT4       N
                           Benjamin.Smith
Ben Smith              PLAINTIFF.EXHIBIT5       N
                           Benjamin.Smith
Ben Smith              PLAINTIFF.EXHIBIT7       H
                           Benjamin.Smith
Ben Smith              PLAINTIFF.EXHIBIT13      N
                           Benjamin.Smith
Ben Smith              PLAINTIFF.EXHIBIT14      R
                             Exhibit 3 –
Ken Bensinger           BuzzFeed_000017-21      N
                             Exhibit 8 –
Ken Bensinger           BuzzFeed_000022-28      N
                         Exhibit 9 – Garrison
                          email to Bensinger
Ken Bensinger            (No Bates Number)      N




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